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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE

 In re:                                                          Chapter 11

 FRANCHISE GROUP, INC., et al.,                                  Case No. 24-12480 (JTD)

                                Debtors.                         (Jointly Administered)

                               MOTION AND ORDER FOR ADMISSION PRO HAC VICE

                   Pursuant to Local Rule 9010-1 and the attached certification, counsel moves the admission pro hac
vice of Gregory V. Demo of Pachulski Stang Ziehl & Jones LLP, to represent the Official Committee of Unsecured
Creditors in this action.

Dated: December 9, 2024                                /s/ Bradford J. Sandler
                                                       Bradford J. Sandler (DE Bar No. 4142)
                                                       Pachulski Stang Ziehl & Jones LLP
                                                       919 North Market Street, 17th Floor
                                                       Wilmington, DE 19899-8705 (Courier 19801)
                                                       Telephone: (302) 652-4100
                                                       Email: bsandler@pszjlaw.com

                     CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

                   Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, am admitted,
practicing and in good standing as a member of the Bar of the State of New York and submit to the disciplinary
jurisdiction of this Court for any alleged misconduct which occurs in the preparation or course of this action. I also
certify that I am generally familiar with this Court’s Local Rules and with Standing Order for District Court Fund
revised 12/21/23. I further certify that the fee of $50.00 has been paid to the Clerk of Court for District Court.

Dated: December 9, 2024                                /s/ Gregory V. Demo
                                                       Gregory V. Demo, Esq.
                                                       Pachulski Stang Ziehl & Jones LLP
                                                       780 Third Avenue, 34th Floor
                                                       New York, NY 10017-2024
                                                       Telephone: (212) 561-7730
                                                       Email: gdemo@pszjlaw.com

                                           ORDER GRANTING MOTION

                    IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice is granted.




     Dated: December 10th, 2024                                   JOHN T. DORSEY
     Wilmington, Delaware                                         UNITED STATES BANKRUPTCY JUDGE




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